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        UNITED STATES BANKRUPTCY COURT
        SOUTHERN DISTRICT OF NEW YORK

        IN RE:

                                                                        Chapter 7
        PANOS PAPADOPOULOS SERETIS
                                                                        Case No. 18-11852-JLG
                                     Debtor.


        YANNIS (IOANIS) BONIKOS, RIGEL SHAHOLLI
        AND DIMITIRIOS OIKONOMOPOULOS,
                                                                        Adv. Pro. No. 18-01637-JLG
                                     Plaintiff,

                             -against-

        PANOS SERETIS,

                                     Defendant.


                                          NOTICE OF DISMISSAL

                       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41(a),

        made applicable to this action by Rule 7041 of the Federal Rules of Bankruptcy Procedure, and

        pursuant to the Settlement Agreement by and amongst Yannis (Ianois) Bonikos, Rigehl Shaholli,

        Dimitirios Oikonomopoulos, and Panos Seretis (Adv. Pro. D.E. #14-1) as approved by the Court

        in its Order Granting Motion of Debtor for Approval of Settlement (Adv. Pro. D.E. #27) the

        Plaintiffs, Yannis (Ioanis) Bonikos, Rigel Shaholli, and Dimitrios Oikonomopoulos, hereby



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        dismiss with prejudice, any and all claims that the Plaintiffs brought against Panos Seretis in the

        above-referenced adversary proceeding.


        Dated: May 29, 2019
               New York, New York

                                                             /s/ Abraham Hamra
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